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 1   H. Ty Kharazi, SBN 187894
     YARRA, KHARAZI AND CLASON
 2   2000 Fresno St. Ste. 300
     Fresno, CA 93721
 3   Tel (559) 441-1214
     Fax (559) 441-1215
 4
     ATTORNEY FOR:          EITEL MENDOZA CHAVEZ
 5
 6
                            IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     THE UNITED STATES OF AMERICA                       )   Case No.: 1:13-CR-00266-AWI-BAM
 9                                                      )
                    Plaintiff,                          )
10                                                      )   STIPULATION TO MOVE
     v.                                                 )   HEARING AND ORDER
11                                                      )
     EITEL MENDOZA CHAVEZ                               )   Date: February 24, 2014
12                                                      )   Time: 1:00 p.m.
                    Defendant.                          )   Judge:
13                                                      )   Hon. Magistrate Barbara A. McAuliffe
                                                        )
14                                                      )
                                                        )
15                                                      )
                                                        )
16                                                      )
                                                        )
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            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
18
19   respective attorneys of record herein, that the Status Conference now set for February 24, 2014

20   at 1:00 p.m. before the Magistrate Judge Barbara A. McAuliffe be moved to a Change of Plea
21   hearing to be heard before the Honorable District Judge, Anthony W. Ishii at 10:00 a.m. on
22
     February 24, 2014.
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            This change is necessary because the parties have reached a resolution of the matter and
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25   would like to have the plea change take place on that date.

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          Case 1:13-cr-00266-AWI-BAM Document 32 Filed 01/31/14 Page 2 of 2


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 3
     Dated: January 30, 2014                            YARRA, KHARAZI & CLASON
 4
                                                        /s/H. Ty Kharazi
 5                                                      ______________________________
                                                        H. TY KHARAZI, Attorney for Defendant
 6
                                                        Eitel Mendoza Chavez
 7
     Dated: January 30, 2014                            BENJAMIN B. WAGNER
 8                                                      United States Attorney
 9                                                      /s/Katheleen A. Servatius
10                                                      ________________________________
                                                        KATHLEEN A. SERVATIUS
11                                                      Assistant U.S. Attorney

12
13
                                               ORDER
14
            The Status Conference February 24, 2014 at 1:00 PM before Judge McAuliffe is moved
15
     to the February 24, 2014 at 10:00 a.m. before the Honorable District Judge, Anthony W. Ishii
16
17   for a Change of Plea hearing.

18
19   IT IS SO ORDERED.
20
        Dated:    January 31, 2014                          /s/ Barbara A. McAuliffe            _
21
                                                     UNITED STATES MAGISTRATE JUDGE
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